    Case 20-32181-KLP                Doc 530
                                           Filed 06/23/20 Entered 06/23/20 16:26:35                                       Desc Main
                                          Document     Page 1 of 15
                                IN THE UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF VIRGINIA
                                           RICHMOND DIVISION


    In re:                                                                               Chapter 11

    CHINOS HOLDINGS, INC., et al.1                                                       Case No. 20-32181 (KLP)

                                       Debtors.                                          (Jointly Administered)


                                                 PROOF OF PUBLICATION

   Attached hereto as Exhibit A is the Proof of Publication for the Notice of Deadlines to file Proofs of
Claim2 that was published in The New York Times National Edition on June 17, 2020.

   Attached hereto as Exhibit B is the Proof of Publication for the Notice of Deadlines to file Proofs of
Claim that was published in The New York Times International Edition on June 22, 2020.

Dated: June 23, 2020

                                                            /s/ Darleen Sahagun_                                                    ___
                                                            Darleen Sahagun
                                                            Omni Agent Solutions
                                                            5955 DeSoto Avenue, Suite 100
                                                            Woodland Hills, California 91367
                                                            (818) 906-8300

                                                            Claims, Noticing, and Administrative Agent for the Debtor




1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, as applicable,
     are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos Intermediate, Inc. (3871); Chinos Intermediate
     Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc.
     (9438); J. Crew Inc. (6360); J. Crew International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand
     Holdings, LLC (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J. Crew
     Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate headquarters and service address
     is 225 Liberty St., New York, NY 10281.
2
    A copy of the Notice is attached as Exhibit C.
Case 20-32181-KLP   Doc 530    Filed 06/23/20 Entered 06/23/20 16:26:35   Desc Main
                              Document     Page 2 of 15



                                   EXHIBIT A
Case 20-32181-KLP   Doc 530    Filed 06/23/20 Entered 06/23/20 16:26:35   Desc Main
                              Document     Page 3 of 15
                                                  Case 20-32181-KLP                  Doc 530
                                                                                     Filed 06/23/20 Entered 06/23/20 16:26:35                                                                                                   Desc Main
CMYK                                                               Nxxx,2020-06-17,B,003,Bs-BW,E1
                                                                                   Document      Page 4 of 15



                                                                                   THE NEW YORK TIMES BUSINESS WEDNESDAY, JUNE 17, 2020                                                                                                                                                                   N                                                    B3



                                                                                                             TECHNOLOGY




After Rivals Like Spotify
Cry Foul, Apple’s App Store
Draws Scrutiny in Europe
      By ADAM SATARIANO                 also issued billions of dollars in
        and JACK NICAS                  fines against Google for antitrust
LONDON — Apple’s App Store              violations in recent years, while
helped usher in the smartphone          Amazon and Facebook are also
economy, leading to the birth of        facing fresh scrutiny.
now-ubiquitous services such as            Spotify has been discussing Ap-
Instagram, Uber and Candy               ple’s practices with European reg-
Crush, and providing a transfor-        ulators for about five years, ac-
mative new way for people to shop       cording to a person involved in the
from their phones.                      talks, who spoke on the condition
   But for companies that wanted        of anonymity because they were
to offer their products through Ap-     private. Tuesday’s announcement
ple’s digital store, there has al-      is a major milestone, yet the com-
ways been a catch: To reach             mission could still spend a year or
customers, they had to agree to         more investigating the company’s
Apple’s terms and conditions, in-       practices before determining
cluding sharing certain data with       whether to bring charges.
the company and giving it a per-           Since Spotify made its formal
centage of any future sales made        complaint in Europe in March
through the iPhone or iPad app.         2019, regulators have been consid-
   Now European regulators are          ering how to show harm from Ap-
questioning whether Apple’s             ple’s actions, according to the per-
terms go too far.                       son involved. They eventually
                                        concluded that Apple’s 30 percent
   On Tuesday, the European Com-
                                        share of some revenues collected
mission, the executive body of the
                                        via the App Store raised competi-
European Union, said it had
                                        tors’ costs, eventually leading to
opened a formal antitrust investi-
                                        higher prices for consumers, this
gation to determine if the terms
                                        person said.
that Apple imposes on app devel-
                                           Spotify said it had raised its
opers violate competition rules.                                                                                                                                                                                                                     ANDREW CABALLERO-REYNOLDS/AGENCE FRANCE-PRESSE — GETTY IMAGES
                                        monthly subscription price to $13
The commission said it had also                                                  Mark Zuckerberg has long said that Facebook would not police political ads. Now, it will let users in the United States decide whether to hide them or not.
                                        from $10 in 2014 to make up for Ap-
started a separate investigation to
                                        ple’s cut. A year later, Apple intro-
see whether Apple was boxing out

                                                                                 Hate Political Ads? Opt Out, Facebook Says
                                        duced its streaming-music com-
rivals to its mobile payments sys-
                                        petitor, Apple Music, priced at $10
tem, Apple Pay.
                                        a month. Spotify then decided to
   In both Brussels and Washing-
                                        pull out of the App Store payment
ton, officials have been scrutiniz-                                                        By MIKE ISAAC                 Mr. Biden had offered to bribe                                                      Other social media companies                                                       Facebook also unveiled a voting
                                        system, restricting Apple from
ing the power of the world’s larg-                                                                                       Ukrainian officials to drop an in-                                               have taken a far harder line on po-                                                information center on Tuesday, a
                                        taking a share and prompting             SAN FRANCISCO — For months,
est technology platforms. Apple,                                                                                         vestigation into his son. Since                                                  litical ads. Last year, Jack Dorsey,                                               feature that aims to give people
                                        Spotify to drop its price back to        Facebook has weathered criticism
Amazon, Facebook and Google                                                                                              then, the Biden campaign has                                                     Twitter’s chief executive, said                                                    more data on elections. That in-
                                        $10 a month. It then became more         for its willingness to show all
are being investigated by an-           complicated to sign up for Spoti-                                                called for the company to fact-                                                  Twitter would ban all political ads                                                cludes details on how and when to
                                                                                 types of political advertising to its
titrust authorities over their          fy’s paid service; customers now                                                 check ads from candidates and                                                    because they presented chal-                                                       vote, information about voter reg-
                                                                                 billions of users, even if those ads
growing power, particularly their       have to go to a website instead of                                               their campaigns.                                                                 lenges to civic discourse.                                                         istration, voting by mail and early
                                                                                 contained lies.
position as gatekeepers upon            simply tapping a button in the app.                                                 Last week, Mr. Biden’s cam-                                                      “We believe political message                                                   voting.
                                                                                    Now the company is changing
which other companies depend on                                                                                          paign also began an online peti-                                                 reach should be earned, not                                                           “Covid is going to make it really
                                           Apple has faced other scrutiny        tack — sort of.
to reach customers.                                                                                                      tion and letter to Mr. Zuckerberg                                                bought,” Mr. Dorsey said.                                                          difficult for people to understand
                                        of how it uses its influence over           On Tuesday, the social network
   “Apple obtained a ‘gatekeeper’       the App Store. For years it has                                                                                                                                      Both Facebook and Twitter pub-                                                  what’s going on and how to vote,”
                                                                                 said it would allow people in the
role when it comes to the distribu-     packed the top of many App Store                                                                                                                                  lish libraries of political ads that                                               Emily Dalton Smith, a director of
                                                                                 United States to opt out of seeing
tion of apps and content to users of
Apple’s popular devices,” said
                                        search results with its own apps,        social issue, electoral or political    Playing to both sides                                                            have run on their sites, allowing
                                                                                                                                                                                                          people to research specific adver-
                                                                                                                                                                                                                                                                                             social impact products at Face-
                                                                                                                                                                                                                                                                                             book, said in an interview. She
                                        even when they were less popular         ads from candidates or political
Margrethe Vestager, the Euro-           or relevant than competitors’ of-        action committees in their Face-        of a charged debate                                                              tisers while tracking their mes-                                                   said the voting information center
pean Commission executive vice          ferings, according to an investiga-                                                                                                                               sages and spending habits. The                                                     would help people get necessary
president in charge of competition      tion by The New York Times. In
                                                                                 book or Instagram feeds. The abil-
                                                                                 ity to hide those ads will begin
                                                                                                                         ahead of an election.                                                            companies also regularly take                                                      and accurate information for the
policy. “We need to ensure that         2018, Apple also began restricting                                                                                                                                down coordinated disinformation                                                    fall elections.
Apple’s rules do not distort com-                                                with a small group of users in the
                                        or removing many popular apps            coming weeks, before rolling out        to demand changes to its speech                                                  campaigns, and are monitoring                                                         The feature will roll out at the
petition in markets where Apple is      that helped people limit the time                                                                                                                                 attempts at election interference                                                  top of the news feeds for Ameri-
                                                                                 to the rest of the United States and    policies ahead of the 2020 presi-
competing with other app devel-         they and their children spent on                                                                                                                                  from foreign operatives.                                                           can users of Facebook and Insta-
                                                                                 later to several other countries.       dential contest. At the same time,
opers.”                                 their iPhones, just after Apple re-                                              the Biden campaign also spent $5                                                    Still, critics said that Facebook                                               gram. Facebook has pledged a
   The case against Apple arises                                                    “Everyone wants to see poli-
                                        leased competing tools. After the                                                million in advertising on Face-                                                  wasn’t being transparent enough.                                                   goal of helping more than four mil-
from a complaint made last year                                                  ticians held accountable for what
                                        makers of two parental-control                                                   book, surging past political ad                                                  “There are significant problems                                                    lion people register to vote
by Spotify, whose music-stream-                                                  they say — and I know many peo-
                                        apps complained to European                                                      spending by Mr. Trump on the                                                     with the Facebook ad library,                                                      through its initiative. It estimated
ing service competes with Apple                                                  ple want us to moderate and re-
                                                                                                                         platform.                                                                        which makes it really difficult to                                                 that roughly half of the U.S. popu-
Music. Spotify and others have                                                   move more of their content,” Mark
                                                                                                                            Facebook has previously modi-                                                 keep on top of what is circulating                                                 lation would see information on
                                                                                 Zuckerberg, chief executive of
criticized Apple for imposing           ‘Apple acts as the                       Facebook, wrote in an op-ed piece       fied what some users can see with                                                to even monitor for disinforma-                                                    how to vote in the November elec-
rules and charging a fee of up to 30                                                                                     political ads. In January, the com-                                              tion in ads, let alone to judge what                                               tions.
percent on digital services sold        stadium owner,                           in USA Today on Tuesday. “For
                                                                                 those of you who’ve already made        pany said it would allow people                                                  the impact is with audiences,” said
through its App Store. Spotify ar-
gued that the fee constituted a tax     referee and player.’                     up your minds and just want the         the option to see fewer such ads.
                                                                                                                         The update announced on Tues-
                                                                                                                                                                                                          Claire Wardle of First Draft, a non-
                                                                                                                                                                                                          profit that researches the impact
                                                                                                                                                                                                                                                                                             Kate Conger contributed reporting
                                                                                                                                                                                                                                                                                             from Oakland, Calif., and Cecilia
that violated competition laws          Horacio Gutierrez, chief legal officer   election to be over, we hear you —
                                                                                 so we’re also introducing the abil-     day will let them opt out entirely.                                              of misinformation in the media.                                                    Kang from Washington.
and merited an investigation. In        for the music app Spotify.
March, the European Commission                                                   ity to turn off seeing political ads.
said an e-book and audiobook dis-                                                We’ll still remind you to vote.”
                                        regulators and The Times re-                The move allows Facebook to
tributor, which it didn’t identify,
                                        ported on Apple’s moves, Apple           play both sides of a complicated                      UNITED STATES BANKRUPTCY COURT                                    which the claim is listed and who desires to have its claim allowed against       ten consent from the Debtors’counsel and submitting the documentation
had filed a similar complaint.                                                                                            EASTERN DISTRICT OF VIRGINIA, RICHMOND DIVISION                                a Debtor other than identified in the Schedules;and                               in connection with such request;
                                        quietly reversed its policy and let      debate about the role of political       In re                          ) Chapter 11 Case Nos.:                              d. any entity who believes that its claim against a Debtor is or may be          e. Proofs of claim must be filed (i) electronically through the website
   “At the heart of our case is the                                                                                                                                                                      entitled to priority under section 503(b)(9) of the Bankruptcy Code.              of the Debtors’claims and noticing agent, Omni, using the interface avail-
                                        the apps back into the App Store.        advertising on social media ahead        CHINOS HOLDINGS, ) 20-32180 (KLP) Through
fact that Apple acts as the stadium                                                                                       INC., et al.,                  ) 20-32197 (KLP)                                     Pursuant to section 101(5) of the Bankruptcy Code and as used in this        able on such website located at https://www.omniagentsolutions.com/
                                           In addition to App Store poli-        of the November presidential                         Debtors.           ) (Jointly Administered)                        Notice,the word“claim”means (i) a right to payment,whether or not such            chinosclaims under the link entitled “Submit a Claim” (the “Electronic
owner, referee and player, and tilts                                                                                                                                                                     right is reduced to judgment, liquidated, unliquidated, fixed, contingent,        Filing System”) or (ii) by delivering the original proof of claim form by
                                        cies, European authorities are in-       election. With the change, Face-            NOTICE OF DEADLINES TO FILE PROOFS OF CLAIM
                                                                                                                                                                                                         matured, unmatured, disputed, undisputed, legal, equitable, secured, or           hand, or mailing the original proof of claim form on or before the appli-
the playing field in favor of its own                                                                                    TO: ALL PERSONS AND ENTITIES WHO MAY HAVE CLAIMS AGAINST                        unsecured;or (ii) a right to an equitable remedy for breach of performance        cable Bar Date as follows: If by overnight courier, hand delivery, or
                                        vestigating Apple Pay, which al-         book can continue allowing politi-      ANY OF THE FOLLOWING DEBTOR ENTITIES:
services,” Horacio Gutierrez, Spo-                                                                                       Name of Debtor, Case Number,Tax Identification Number:
                                                                                                                                                                                                         if such breach gives rise to a right to payment, whether or not such right        first class mail: Chinos Holdings, Inc. Claims Processing, c/o Omni
                                        lows people to make purchases            cal ads to flow across its network,                                                                                     to an equitable remedy is reduced to judgment,fixed,contingent,matured,           Agent Solutions,5955 De Soto Ave.,Suite 100,Woodland Hills,CA 91367.
tify’s chief legal officer, told re-                                                                                     J. Crew Virginia, Inc., 20-32180 (KLP), XX-XXXXXXX; Chinos Holdings,            unmatured, disputed, undisputed, secured, or unsecured. Further, claims               f. A proof of claim shall be deemed timely filed only if it actually is
                                        within apps or in shops with an          while also finding a way to reduce      Inc., 20-32181 (KLP), XX-XXXXXXX; Chinos Intermediate Holdings A, Inc.,         include unsecured claims,secured claims,and priority claims.                      received by Omni as set forth in subparagraph (e) above,in each case,on
porters on Tuesday. “This case is                                                                                        20-32182 (KLP), XX-XXXXXXX; Chinos Intermediate, Inc., 20-32183 (KLP),
                                        iPhone or Apple Watch. The ques-         the reach of those ads and to offer     XX-XXXXXXX; Chinos Intermediate Holdings B, Inc., 20-32184 (KLP),
                                                                                                                                                                                                              Pursuant to section 101(15) of the Bankruptcy Code and as used in this       or before the applicable Bar Date;and
not just about Spotify. The com-                                                                                                                                                                         notice, the term“entity”has the meaning given to it in section 101(15) of             g. Proofs of claim sent by facsimile, telecopy, or electronic mail
                                        tions surround requirements              a concession to critics who have        XX-XXXXXXX; J. Crew Group, Inc., 20-32185 (KLP), XX-XXXXXXX; J. Crew            the Bankruptcy Code,and includes all persons,estates,trusts,and govern-           transmission (other than proofs of claim filed electronically through the
mission’s decision to take on this                                                                                       OperatingCorp.,20-32186(KLP),XX-XXXXXXX;GraceHolmes,Inc.,20-32187               mental units. In addition, the terms “persons” and “governmental units”           Electronic Filing System) will not be accepted.
                                        companies must agree to when in-         said the company should do more         (KLP),XX-XXXXXXX;H.F.D.No.55,Inc.,20-32188 (KLP),XX-XXXXXXX;J.Crew              are defined in sections 101(41) and 101(27) of the Bankruptcy Code,                   4. CONSEQUENCES OF FAILURE TO TIMELY FILE A PROOF OF
case against Apple is an important                                                                                       Inc., 20-32189 (KLP), XX-XXXXXXX; J. Crew International, Inc., 20-32190
                                        tegrating Apple Pay into apps or         to moderate noxious speech on its       (KLP), XX-XXXXXXX; Madewell Inc., 20-32191 (KLP), XX-XXXXXXX;
                                                                                                                                                                                                         respectively.                                                                     CLAIM BY THE APPLICABLE BAR DATE. Pursuant to the Bar Date
first step toward developing new                                                                                                                                                                              2. WHO NEED NOT FILE A PROOF OF CLAIM.The following persons                  Order and Bankruptcy Rule 3003(c)(2), any holder of a claim who
                                        websites. The commission said it         platform.                               J. Crew Brand Holdings, LLC, 20-32192 (KLP), XX-XXXXXXX; J. Crew Brand          or entities whose claims would otherwise be subject to a Bar Date need not        is required to timely file a Proof of Claim on or before the appli-
rules of the road that will govern                                                                                       Intermediate, LLC, 20-32193 (KLP), XX-XXXXXXX; J. Crew Brand, LLC,              file any proofs of claim:                                                         cable Bar Date as provided herein, but fails to do so:
                                        would review how the company                Mr. Zuckerberg has long said         20-32194 (KLP), XX-XXXXXXX; J. Crew Brand Corp., 20-32195 (KLP),
the conduct of online platforms for                                                                                      XX-XXXXXXX; J. Crew Domestic Brand, LLC, 20-32196 (KLP), XX-XXXXXXX;
                                                                                                                                                                                                              a. any person or entity whose claim is listed on the Schedules; pro-             (a) shall not be treated as a creditor with respect to such claim
                                        controlled access to “tap and go”        that Facebook would not police                                                                                          vided that (i) the claim is not listed on the Schedules as “disputed,”“con-       for the purposes of voting and distribution in these chapter 11
years to come.”                                                                                                          J.Crew International Brand,LLC,20-32197 (KLP),XX-XXXXXXX                        tingent,” or “unliquidated,” (ii) the person or entity does not dispute the       cases on account of such claim; and
                                        technology for rival payment sys-        and moderate political ads. That’s      OTHER NAMES USED BY THE DEBTORS IN THE PAST 8 YEARS:J. Crew;                    amount,nature,and priority of the claim as set forth in the Schedules,and             (b) forever shall be barred, estopped, and enjoined from
   On Tuesday, European authori-                                                                                         J.Crew Retail; J. Crew Retail Stores; J. Crew Factory; J. Crew Corp.;           (iii) the person or entity does not dispute that the claim is an obligation of    asserting such claim against each of the Debtors and their prop-
                                        tems on Apple devices.                   because the company does not            J.Crew Factory Stores; J.Crew Mercantile; Madewell Retail Stores;
ties said a preliminary investiga-                                                                                       Madewell Retail; J. Crew Outfitters, Inc.
                                                                                                                                                                                                         the specific Debtor against which the claim is listed in the Schedules;           erty (or filing a proof of claim with respect thereto), and each of
tion showed the complaints had             “It is important that Apple’s         want to limit the speech of candi-      Attorneys for Debtors: Ray C. Schrock, P.C., Ryan Preston Dahl, Esq.,
                                                                                                                                                                                                              b. any person or entity who already has filed a signed proof of claim        the Debtors and their respective chapter 11 estates, successors,
                                                                                                                                                                                                         with Omni or the Clerk of the Bankruptcy Court for the Eastern District of        and property shall be forever discharged from any and all indebt-
merit.                                  measures do not deny consumers           dates, he has said, especially in       Candace M.Arthur, Esq., Daniel Gwen, Esq.,WEIL, GOTSHAL & MANGES LLP,           Virginia against the respective Debtors with respect to the claim being           edness or liability with respect to or arising from such claim.
                                                                                                                         767 Fifth Avenue, New York, New York 10153-0119,Telephone: (212) 310-           asserted,utilizing a claim form that substantially conforms to the Proof of           5. THE DEBTORS’ SCHEDULES, ACCESS THERETO, AND
                                        the benefits of new payment tech-        smaller elections and those candi-      8000, Facsimile: (212) 310-8007; Attorneys for Debtors: Tyler P. Brown
   Josh Rosenstock, a spokesman                                                                                          (VSB No.28072), Henry P.(Toby) Long, III (VSB No.75134), Nathan Kramer
                                                                                                                                                                                                         Claim Form;                                                                       CONSEQUENCES OF AMENDMENT THEREOF. You may be listed as the
                                        nologies, including better choice,       dates who do not have the deep                                                                                               c. any person or entity who holds a claim that has been allowed by           holder of a claim against the Debtors in the Debtors’ Schedules of Assets
for Apple, said the company dis-                                                                                         (VSB No. 87720), HUNTON ANDREWS KURTH LLP, Riverfront Plaza, East               order of the Court entered on or before the applicable Bar Date;                  and Liabilities or Schedules of Executory Contracts and Unexpired Leases
                                        quality, innovation and competi-         pockets of the major campaigns.         Tower, 951 East Byrd Street, Richmond, Virginia 23219, Telephone: (804)              d. anyperson orentitywhoseclaimhas beenpaid infullin accordance              (collectively, the“Schedules”). To determine if and how you are listed in
agreed with the European Com-                                                                                            788-8200,Facsimile: (804) 788-8218
mission’s decision to start the in-     tive prices,” Ms. Vestager said.            But critics, including the Biden     Address of the Clerk of the Bankruptcy Court:Clerk of the Bankruptcy Court
                                                                                                                                                                                                         with the Bankruptcy Code or an order of the Court;
                                                                                                                                                                                                              e. any person or entity who holds a claim for which a separate dead-
                                                                                                                                                                                                                                                                                           the Schedules, please refer to the descriptions set forth on the enclosed
                                                                                                                                                                                                                                                                                           Proof of Claim Form regarding the nature, amount, and status of your
                                           The Apple investigations are                                                  for the Eastern District of Virginia (Richmond Division), 701 East Broad
vestigations, describing the com-                                                presidential campaign, have ar-         Street, Suite 4000, Richmond, Virginia 23219-1888, Telephone: 804-916-
                                                                                                                                                                                                         line has been fixed by an order of the Court entered on or before the appli-
                                                                                                                                                                                                         cable Bar Date;
                                                                                                                                                                                                                                                                                           claims. If you received postpetition payments from the Debtors (as autho-
                                                                                                                                                                                                                                                                                           rized by the Court) on account of your claim, the enclosed Proof of Claim
plaints that it is breaking antitrust   part of a multifront challenge that      gued that Facebook’s laissez-faire      2400,Hours Open:8:00 a.m.– 4:00 p.m.Monday-Friday                                    f. any person or entity who holds an equity interest in the Debtors,         Form will reflect the net amount of your claims. If the Debtors believe that
                                                                                                                         PLEASE TAKE NOTICE THAT:
laws as “baseless.” The company         the biggest tech companies are           approach has dangerous conse-           YOU ARE RECEIVING THIS NOTICE BECAUSE YOU MAY HAVE A CLAIM
                                                                                                                                                                                                         which interest exclusively is based upon the ownership of common or
                                                                                                                                                                                                         preferred stock, membership interests, partnership interests, or warrants,
                                                                                                                                                                                                                                                                                           you hold claims against more than one Debtor, you will receive multiple
                                                                                                                                                                                                                                                                                           Proof of Claim Forms, each of which will reflect the nature and amount of
                                        grappling with around the world.                                                 AGAINST THE DEBTORS IN THE ABOVE-CAPTIONED CHAPTER 11
has defended its tight control of                                                quences, with untruthful political      CASES. THEREFORE,YOU SHOULD READTHIS NOTICE CAREFULLY AND
                                                                                                                                                                                                         options,or rights to purchase,sell,or subscribe to such a security or interest;   your claim against each Debtor,as listed in the Schedules.
                                                                                                                                                                                                         provided, that if any such holder asserts a claim (as opposed to an owner-            As set forth above, if you agree with the nature, amount, and status of
the App Store as a means to pre-           In Germany and Britain, law-          ads leading to the spreading of         CONSULT AN ATTORNEY IF YOU HAVE ANY QUESTIONS, INCLUDING                        ship interest) against the Debtors (including a claim relating to an equity       your claim as listed in the Schedules and if your claim is not listed in the
                                                                                                                         WHETHER YOU SHOULD FILE A PROOF OF CLAIM.
serve quality, privacy and securi-      makers are debating changes to           disinformation and potential vot-           On May 4, 2020 (the “Petition Date”), Chinos Holdings, Inc., and cer-
                                                                                                                                                                                                         interest or the purchase or sale of such equity interest),a Proof of Claim,as
                                                                                                                                                                                                         applicable, must be filed on or before the applicable Bar Date pursuant to
                                                                                                                                                                                                                                                                                           Schedules as“disputed,”“contingent,” or“unliquidated,” you need not file
                                                                                                                                                                                                                                                                                           a proof of claim. Otherwise, or if you decide to file a proof of claim, you
ty.                                     antitrust laws that would make it        er disenfranchisement. Some Re-         tain of its debtor affiliates, as debtors and debtors in possession, (collec-
                                                                                                                         tively, the “Debtors”), filed voluntary cases under chapter 11 of title 11
                                                                                                                                                                                                         the Procedures set for the herein;                                                must do so before the Bar Date in accordance with the procedures set forth
                                                                                                                                                                                                              g. anycurrentofficer,director,oremployeeforclaimsbasedonindem-               in this Notice.
   “Throughout our history, Apple       easier for the authorities to bring      publicans have argued that Face-        of the United States Code (the“Bankruptcy Code”) in the United States           nification,contribution,or reimbursement;                                             Copies of the Schedules may be examined by interested parties on the
                                                                                                                         Bankruptcy Court for the Eastern District of Virginia (the “Bankruptcy
has created groundbreaking new          tech cases. European Union offi-         book should not act as an arbiter       Court”).
                                                                                                                                                                                                              h. any entity whose claim is solely against any of the Debtors’ non-         Court’s electronic docket for the Debtors’chapter 11 cases,which is posted
                                                                                                                                                                                                         Debtor affiliates;                                                                (i) on the website established by Omni for the Debtors’ cases at https://
products and services in some of        cials are exploring a digital serv-      of what can and cannot be posted            On May 28, 2020, the Bankruptcy Court, having jurisdiction over the
                                                                                                                         chapter 11 cases of the Debtors,entered an order (the“Bar Date Order”)
                                                                                                                                                                                                              i. any Debtor or non-debtor subsidiary or affiliate having a claim           www.omniagentsolutions.com/chinosclaims and (ii) on the Court’s web-
                                                                                                                                                                                                         against another Debtor;                                                           site at https://www.vaeb.uscourts.gov/. A login and password to the
the most fiercely competitive           ices law with wide-ranging impli-        in ads, and that the company’s in-      establishing the following Bar Dates:                                                j. any counterparty to a lease of nonresidential real property that          Court’s Public Access to Electronic Court Records (“PACER”) are required to
                                                                                                                             a. July 15, 2020 at 5:00 p.m. (Eastern Time) as the deadline for
markets in the world,” he said.         cations, including potential liabil-     tervention amounts to censor-           each person or entity (as defined in section 101(27) of the Bankruptcy
                                                                                                                                                                                                         asserted a claim for a cure amount in connection with a timely filed objec-       access the information on the Court’s website and can be obtained through
                                                                                                                                                                                                         tion to the assumption or assumption and assignment of such lease by the          the PACER Service Center at www.pacer.psc.uscourts.gov. Copies of the
“We follow the law in everything        ity rules for harmful content            ship.                                   Code) other than governmental units (as defined in section 101(27) of           Debtors;                                                                          Schedules also may be examined between the hours of 8:00 a.m.and 5:00
                                                                                                                         the Bankruptcy Code) (“Governmental Units”), to file a proof of claim                k. any holder of a claim allowable under section 503(b) and 507(a)(2)        p.m. (Eastern Time) Monday through Friday at the U.S. Bankruptcy Court,
we do, and we embrace competi-          spread on social media, as well as          The Biden presidential cam-          in respect of a prepetition claim (as defined in section 101(5) of the          of the Bankruptcy Code, other than a claim asserting priority pursuant to         701 East Broad Street,Suite 4000,Richmond,VA 23219-1888. Copies of the
                                        expanded powers for regulators                                                   Bankruptcy Code), including secured claims, unsecured priority claims,
tion at every stage because we be-                                               paign lashed out at Facebook over       unsecured non-priority claims,and claims arising under section 503(b)(9)
                                                                                                                                                                                                         section 503 of the Bankruptcy Code;and
                                                                                                                                                                                                              l. (i) the prepetition lenders party to that certain Credit Agreement,
                                                                                                                                                                                                                                                                                           Debtors’Schedules also may be obtained by written request to the Debtors’
                                                                                                                                                                                                                                                                                           claims agent,Omni,at the address and telephone number set forth below:
lieve it pushes us to deliver even      to quickly step in against what          its hands-off policy on political ads   of the Bankruptcy Code against any of the Debtors (the “General Bar             dated March 7, 2011 (as amended, restated, supplemented, or otherwise             Chinos Holdings, Inc. Claims Processing, c/o Omni Agent Solutions,
                                                                                                                         Date”),unless otherwise provided herein;
better results.”                        they conclude are unfair business        last October after the Trump cam-           b. November 2,2020 at 5:00 p.m.(Eastern Time) as the deadline
                                                                                                                                                                                                         modified from time to time, the “ABL Credit Agreement,” and such
                                                                                                                                                                                                         lenders, the “ABL Lenders”) on account of claims arising thereunder; (ii)
                                                                                                                                                                                                                                                                                           5955 De Soto Ave., Suite 100, Woodland Hills, CA 91367, Toll Free: (866)
                                                                                                                                                                                                                                                                                           991-8218,International:(818) 924-2298.
   American investigations of Big       practices. Australia, India and          paign released ads on the social        for Governmental Units to file a Proof of Claim in respect of a prepetition
                                                                                                                         claim against any of the Debtors (the“Governmental Bar Date”);
                                                                                                                                                                                                         the prepetition lenders party to that certain Amended and Restated Credit             If the Debtors amend or supplement their Schedules after the date of
                                                                                                                                                                                                         Agreement (as amended, restated, supplemented, or otherwise modified              entry of the Bar Date Order,the Debtors shall give notice of any amendment
Tech’s power, including those by        Brazil are also cracking down.           network that falsely claimed that           c. the later of (i) the General Bar Date or the Governmental                from time to time, the “Term Loan Agreement,” and such lenders, the               or supplement to the holders of claims affected by such amendment or
                                                                                                                         Bar Date, as applicable, and (ii) 5:00 p.m. (Eastern Time) on the
the Justice Department, Federal            Spotify said that federal and                                                 date that is 30 days from the date on which the Debtors provide
                                                                                                                                                                                                         “Term Lenders”) on account of claims arising thereunder; and (iii) the
                                                                                                                                                                                                         prepetition holders of notes issued pursuant to those certain Indentures,
                                                                                                                                                                                                                                                                                           supplement within 10 days after filing such amendment or supplement,
                                                                                                                                                                                                                                                                                           and such holders must file a Proof of Claim by the later of (a) the General
Trade Commission and state at-          state regulators in the United                                                   notice of an amendment or supplement to the Schedules (as
                                                                                                                         defined herein) as the deadline by which claimants holding claims
                                                                                                                                                                                                         dated July 13, 2017 (as amended, restated, supplemented, waived or                Bar Date or the Governmental Bar Date,as applicable,and (b) 5:00
                                                                                                                                                                                                         otherwise modified from time to time, the “IPCo Indentures,” and such             p.m. (Eastern Time) on the date that is 30 days from the date on
torneys general, have tended to         States had approached the com-                                                   affectedbysuchfiling,amendment,orsupplementmustfileproofsofclaim                holders,the“IPCo Noteholders”) on account of claims arising thereunder;           which the Debtors provide notice of an amendment or supple-
                                                                                                                         with respect to such claim (the“Amended Schedules Bar Date”);and
lump Apple in with Google, Face-        pany about Apple and that it had                                                     d. the later of (i) the General Bar Date or the Governmental
                                                                                                                                                                                                         provided that the administrative agent under the ABL Credit Agreement             ment to the Schedules, or be forever barred from so doing, and such
                                                                                                                                                                                                         and the Term Loan Agreement, respectively, and trustees under the IPCo            deadline shall be contained in any notice of such amendment or supple-
book and Amazon. But Apple was          provided information, but that it                                                Bar Date, as applicable, and (ii) 5:00 p.m. (Eastern Time) on the
                                                                                                                         date that is 30 days from the date of entry of an order approv-
                                                                                                                                                                                                         Indentures may file a single consolidated Proof of Claim on behalf of the         ment of the Schedules provided to the holders of claims affected thereby.
                                                                                                                                                                                                         ABL Lenders,Term Lenders,and IPCo Noteholders,as applicable.                          6. RESERVATION OF RIGHTS. Nothing contained in this Notice is
thought to be at the least risk of      expects real action to come in Eu-                                               ing rejection of any executory contract or unexpired lease of the
                                                                                     Encourage
                                                                                                                                                                                                              The fact that you have received this notice does not mean that               intended to or should be construed as a waiver of the Debtors’right to:(a)
                                                                                                                         Debtors (the “Rejection Order”) as the deadline by which claimants
punishment there because its            rope.                                                                            asserting claims resulting from the Debtors’ rejection of an executory
                                                                                                                                                                                                         you have claim or that the Debtors or the Court believe that you                  dispute, or assert offsets or defenses against, any filed claim or any claim
                                                                                                                                                                                                         have a claim against the Debtors. You should not file a proof of                  listed or reflected in the Schedules as to the nature, amount, liability, or
                                           Gene Kimmelman, a former
                                                                                     student discovery.
                                                                                                                         contract or unexpired lease must file proofs of claim for damages arising
business practices appeared to be                                                                                        from such rejection1 (the“Rejection Damages Bar Date,”and,together
                                                                                                                                                                                                         claim if you do not have a claim against any of the Debtors.                      classification thereof; (b) subsequently designate any scheduled claim as
                                                                                                                                                                                                              3. INSTRUCTIONS FOR FILING PROOFS OF CLAIM.Except as other-                  disputed,contingent,or unliquidated;and (c) otherwise amend or supple-
less problematic than its closest       chief counsel of the Justice De-                                                 with the General Bar Date, the Governmental Bar Date, and the Amended           wise set forth herein, each entity that asserts a claim against the Debtors       ment the Schedules.
                                                                                                                         Schedules Bar Date,the“Bar Dates”).
peers.                                  partment’s antitrust division, said                                                                                                                              that arose before the Petition Date MUST file a proof of claim.                   If you require additional information regarding the filing of a
                                                                                     Learn how you can sponsor               If you have any questions relating to this notice, please feel                   The following procedures with respect to preparing and filing                proof of claim, you may contact the Debtors’ Claims and Noticing
   But now Europe’s formal inves-       Europe continued to lead on en-                                                  free to contact Omni Agent Solutions (“Omni”) at (866) 991-                     of proofs of claim will apply; provided, however, the Debtors in                  Agent directly at: Omni, 5955 De Soto Ave., Suite 100, Woodland
                                                                                     classroom subscriptions at          8218 (toll free) or (818) 924-2298 (international) or by e-mail at              their discretion may waive any defects in a proof of claim:                       Hills,CA 91367; telephone: (866) 991-8218 (toll-free) or (818) 924-
tigations show Apple still faces at     forcement.                                                                       chinosinquiries@omniagnt.com.
                                                                                     nytimes.com/sponsor.                NOTE: The staff of the Bankruptcy Clerk’s Office, the Office of the United
                                                                                                                                                                                                              a. Proofs of claim must substantially conform to the attached Proof of       2298 (international); or by e-mail at chinosinquiries@omniagnt.
least one big regulatory fight.            “Europe is moving much more                                                   States Trustee, and the Debtors’ Claims and Noticing Agent cannot give
                                                                                                                                                                                                         Claim Form or Official Bankruptcy Form No.410;                                    com.
                                                                                                                                                                                                              b. Proofs of claim must (i) be written in the English language; (ii) be      A holder of a possible claim against the Debtors should consult an
   In Europe, the world’s largest       quickly and much more ag-                                                        legal advice.                                                                   denominated in lawful currency of the United States as of the Petition Date       attorney if such holder has any questions regarding this notice,
                                                                                                                         INSTRUCTIONS:                                                                   (using the exchange rate,if applicable,as of the Petition Date);(iii) specify     including whether the holder should file a proof of claim.
technology companies have long          gressively with both antitrust and                                                   1. WHO MUST FILE A PROOF OF CLAIM. Except as otherwise set                  by name and case number the Debtor against which the claim is filed;              Dated: Richmond, Virginia, June 15, 2020, BY ORDER OF THE COURT,
                                        regulation,” said Mr. Kimmelman,                                                 forth herein, the following persons or entities holding claims against the      (iv) set forth with specificity the legal and factual basis for the alleged       WEIL, GOTSHAL & MANGES LLP, Ray C. Schrock, P.C., Ryan Preston Dahl,
been viewed with suspicion as                                                                                            Debtors arising before the Petition Date MUST file proofs of claim on or        claim; (v) include supporting documentation for the claim or an explana-          Esq., Candace M. Arthur, Esq., Daniel Gwen, Esq., 767 Fifth Avenue, New
they have consolidated power            now a senior fellow at the German                                                before the applicable Bar Date:                                                 tion as to why such documentation is not available; and (vi) be signed by         York, New York 10153,Telephone: (212) 310-8000, Facsimile: (212) 310-
                                                                                                                             a. any person or entity whose claim against a Debtor is not listed
over the digital economy. In 2016,      Marshall Fund. “I think the U.S.                                                 in the applicable Debtor’s Schedules, or is listed as “contingent,”“unliqui-
                                                                                                                                                                                                         the claimant or,if the claimant is not an individual,by an authorized agent
                                                                                                                                                                                                         of the claimant under penalty of perjury;
                                                                                                                                                                                                                                                                                           8007 -and- HUNTON ANDREWS KURTH LLP,Tyler P.Brown (VSB No.28072),
                                                                                                                                                                                                                                                                                           Henry P.(Toby) Long, III (VSB No.75134), Nathan Kramer (VSB No.87720),
the European Commission or-             will respond to that.”                                                           dated,”or“disputed”and if such entity desires to participate in any of these
                                                                                                                         chapter 11 cases or share in any distribution in any of these chapter 11
                                                                                                                                                                                                              c. Except as otherwise set forth herein, if a claimant asserts a claim       Riverfront Plaza, East Tower, 951 East Byrd Street, Richmond, VA 23219,
                                                                                                                                                                                                         against more than one Debtor or has claims against different Debtors,the          Tel: (804) 788-8200, Fax: (804) 788-8218, ATTORNEYS FOR DEBTORS AND
dered Ireland to collect 13 billion                                                                                      cases;
                                                                                                                             b. any person or entity who believes that its claim is improperly clas-
                                                                                                                                                                                                         claimant must file a separate proof of claim, as applicable, against each         DEBTORS IN POSSESSION
                                        Adam Satariano reported from
                                                                                                                                                                                                                                                                                           1
                                                                                                                                                                                                         Debtor;                                                                                Provided that notwithstanding the foregoing, a party to an executory
euros in unpaid taxes from Apple,                                                                                        sified in the Schedules or is listed in an incorrect amount and who desires          d. Except as otherwise provided herein, each proof of claim must             contract or unexpired lease who asserts a claim on account of unpaid
worth about $14.7 billion today.        London, and Jack Nicas from Center-                                              to have its claim allowed in a different classification or amount other than
                                                                                                                         that identified in the Schedules;
                                                                                                                                                                                                         include supporting documentation or an explanation as to why such docu-           amounts accrued and outstanding as of the Petition Date pursuant to such
                                                                                                                                                                                                         mentation is not available in accordance with Bankruptcy Rules 3001(c)            executory contract or unexpired lease (other than a rejection damages
The antitrust authorities have          ville, Mass.                                                                         c. any person or entity who believes that any prepetition claim as          and 3001(d). If such documentation is voluminous,such proof of claim may          claim) must file a proof of claim for such amounts on or before the appli-
                                                                                                                         listed in the Schedules is not an obligation of the specific Debtor against     include a summary of such documentation,subject to receiving prior writ-          cable Bar Date,unless an exception identified in the Bar Date Order applies.
Case 20-32181-KLP   Doc 530    Filed 06/23/20 Entered 06/23/20 16:26:35   Desc Main
                              Document     Page 5 of 15



                                   EXHIBIT B
Case 20-32181-KLP   Doc 530    Filed 06/23/20 Entered 06/23/20 16:26:35   Desc Main
                              Document     Page 6 of 15
                                                                  Case 20-32181-KLP                 Doc 530          Filed 06/23/20 Entered 06/23/20 16:26:35                                                                                 Desc Main
                                                                                                                    Document     Page 7 of 15

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THE NEW YORK TIMES INTERNATIONAL EDITION                                                                                                                                                                                                                                                                                              MONDAY, JUNE 22, 2020 | 7




Business
Denouncing the racism they unleash
                                             demonstrations and get their mes-                                                                                                                                                                                                                                               sentiment on Instagram, which Face-
The Shift                                    sages out.                                                                                                                                                                                                                                                                      book owns, has been more favorable,
                                                But in recent years, a right-wing                                                                                                                                                                                                                                            perhaps because its users skew young-
                                             reactionary movement has turned the                                                                                                                                                                                                                                             er and more liberal.)
                                             tide. Now, some of the loudest and                                                                                                                                                                                                                                                 Facebook declined to comment. On
KEVIN ROOSE                                  most established voices on these plat-                                                                                                                                                                                                                                          Thursday, it announced it would spend
                                             forms belong to conservative commen-                                                                                                                                                                                                                                            $200 million to support black-owned
                                             tators and paid provocateurs whose                                                                                                                                                                                                                                              businesses and organizations, and add
Several weeks ago, as protests erupted       aim is mocking and subverting social                                                                                                                                                                                                                                            a “Lift Black Voices” section to its app
across the United States in response to      justice movements, rather than sup-                                                                                                                                                                                                                                             to highlight stories from black people
the police killing of George Floyd,          porting them.                                                                                                                                                                                                                                                                   and share educational resources.
Mark Zuckerberg wrote a long and                The result is a distorted view of the                                                                                                                                                                                                                                           Twitter has been a supporter of
heartfelt post on his Facebook page,         world that is at odds with actual public                                                                                                                                                                                                                                        Black Lives Matter for years — re-
denouncing racial bias and proclaiming       sentiment. A majority of Americans                                                                                                                                                                                                                                              member Mr. Dorsey’s trip to Fergu-
that “black lives matter.” Mr. Zucker-       support Black Lives Matter, but you                                                                                                                                                                                                                                             son? — but it, too, has a problem with
berg, Facebook’s chief executive, also       wouldn’t necessarily know it by                                                                                                                                                                                                                                                 racists and bigots who use the plat-
announced that the company would             scrolling through your social media                                                                                                                                                                                                                                             form to stir up unrest. Last month, the
donate $10 million to racial justice         feeds.                                                                                                                                                                                                                                                                          company discovered that a Twitter
organizations.                                  On Facebook, for example, the most                                                                                                                                                                                                                                           account claiming to represent a na-
   A similar show of support unfolded        popular post on the day of Mr. Zucker-                                                                                                                                                                                                                                          tional antifa group was run by a group
at Twitter, where the company                berg’s Black Lives Matter pronounce-                                                                                                                                                                                                                                            of white nationalists posing as left-
changed its official Twitter bio to a        ment was an 18-minute video posted                                                                                                                                                                                                                                              wing radicals. (The account was sus-
Black Lives Matter tribute, and Jack         by the right-wing activist Candace                                                                                                                                                                                                                                              pended, but not before its tweets call-
Dorsey, the chief executive, pledged $3      Owens.                                                                                                                                                                                                                                                                          ing for violence had been widely
million to an anti-racism organization          In the video, Ms. Owens, who is                                                                                                                                                                                                                                              shared.) Twitter’s trending topics
started by Colin Kaepernick, the for-        black, railed against the protests,                                                                                                                                                                                                                                             sidebar, which is often gamed by trolls
mer N.F.L. quarterback.                      calling the idea of racially biased polic-                                                                                                                                                                                                                                      looking to hijack online conversations,
   YouTube joined the protests, too.         ing a “fake narrative” and deriding Mr.                                                                                                                                                                                                                                         has filled up with inflammatory hash-
Susan Wojcicki, its chief executive,         Floyd as a “horrible human being.”                                                                                                                                                                                                                                              tags like #whitelivesmatter and
wrote in a blog post that “we believe        Her monologue, which was shared by                                                                                                                                                                                                                                              #whiteoutwednesday, often as a result
Black lives matter and we all need to        right-wing media outlets — and which                                                                                                                                                                                                                                            of coordinated campaigns by far-right
do more to dismantle systemic rac-           several people told me they had seen                                                                                                                                                                                                                                            extremists.
ism.” YouTube also announced it would        because Facebook’s algorithm recom-                                                                                                                                                                                                                                                A Twitter spokesman, Brandon
start a $100 million fund for black          mended it to them — racked up nearly                                                                                                                                                                                                                                            Borrman, said: “We’ve taken down
creators.                                    100 million views.                                                                                                                                                                                                                                                              hundreds of groups under our violent
   Pretty good for a bunch of suppos-           Ms. Owens is a serial offender,                                                                                                                                                                                                                                              extremist group policy and continue to
edly heartless tech executives, right?       known for spreading misinformation                                                                                                                                                                                                                                              enforce our policies against hateful
   Well, sort of. The problem is that        and stirring up partisan rancor. (Her                                                                                                                                                                                                                                           conduct every day across the world.
while these shows of support were well       Twitter account was suspended this                                                                                                                                                                                                                                              From #BlackLivesMatter to #MeToo
intentioned, they didn’t address the         year after she encouraged her follow-                                                                                                                                                                                                                                           and #BringBackOurGirls, our com-
way that these companies’ own prod-          ers to violate stay-at-home orders, and                                                                                                                                                                                                                                         pany is motivated by the power of
ucts — Facebook, Twitter and YouTube         Facebook has applied fact-checking                                                                                                                                                                                                                                              social movements to usher in meaning-
— have been successfully weaponized          labels to several of her posts.) But she                                                                                                                                                                                                                                        ful societal change.”
by racists and partisan provocateurs,        can still insult the victims of police                                                                                                                                                                                                                                             YouTube, too, has struggled to
and are being used to undermine Black        killings with impunity and with an                                                                                                                                                                                                                                              square its corporate values with the
Lives Matter and other social justice        audience of nearly four million follow-                                                                                                                                                                                                                                         way its products actually operate. The
movements.                                   ers on Facebook. So can other high-                                                                                                                                                                                                                                             company has made strides in recent
   It’s as if the heads of McDonald’s,       profile conservative commentators like                                                                                                                                                                                                                                          years to remove conspiracy theories
Burger King and Taco Bell all got            Terrence K. Williams, Ben Shapiro and                                                                                                                                                                                                                                           and misinformation from its search
together to fight obesity by donating to     the Hodgetwins: Anti-Black Lives                                                                                                                                                                                                                                                results and recommendations, but it
a vegan food co-op, rather than by           Matter posts from each of them have                                                                                                                                                                                                                                             has yet to grapple fully with the way
lowering their calorie counts.               gone viral over the past several weeks.                                                                                                                                                                                                                                         its boundary-pushing culture and
   It’s hard to remember sometimes,             In all, seven of the 10 most-shared                                                                                                                                                                                                                                          laissez-faire policies contributed to
but social media once functioned as a        Facebook posts containing the phrase                                                                                                                                                                                                                                            racial division for years.
tool for the oppressed and margin-           “Black Lives Matter” over the past                                                                                                                                                                                                                                                 In some ways, social media has
alized. In Tahrir Square in Cairo, Fer-      month were critical of the movement,                                                                                                                                                                                                                                            helped Black Lives Matter simply by
guson, Mo., and Baltimore, activists         according to data from CrowdTangle, a                                                                                                                                                                                                                                           making it possible for victims of vio-
used Twitter and Facebook to organize        Facebook-owned data platform. (The                                                                                                                                                                                                                        MATT CHASE            PLATFORMS, PAGE 8




Evicted for Covid patients
                                                                                                                                                             ADVERTISEMENT                                                                                                                                                                                 ADVERTISEMENT
                                                                                                                                                               UNITED STATES BANKRUPTCY COURT                                        other than identified in the Schedules; and                                          the Debtors’ counsel and submitting the documentation in connection with
                                                                                                                                                   EASTERN DISTRICT OF VIRGINIA, RICHMOND DIVISION                                       d. any entity who believes that its claim against a Debtor is or may be          such request;
                                                                                                                                                 In re                            ) Chapter 11 Case Nos.:                            entitled to priority under section 503(b)(9) of the Bankruptcy Code.                     e. Proofs of claim must be filed (i) electronically through the website of
                                                                                                                                                 CHINOS HOLDINGS, ) 20-32180 (KLP) Through                                               Pursuant to section 101(5) of the Bankruptcy Code and as used in this            the Debtors’ claims and noticing agent, Omni, using the interface available on
                                                                                                                                                 INC., et al.,                    ) 20-32197 (KLP)                                   Notice, the word “claim” means (i) a right to payment, whether or not such           such website located at https://www.omniagentsolutions.com/chinosclaims
                                                                                                                                                                                                                                     right is reduced to judgment, liquidated, unliquidated, fixed, contingent,           under the link entitled “Submit a Claim” (the “Electronic Filing System”)
Lower-paying residents,                                                                                                                                      Debtors.             ) (Jointly Administered)
                                                                                                                                                     NOTICE OF DEADLINES TO FILE PROOFS OF CLAIM                                     matured, unmatured, disputed, undisputed, legal, equitable, secured, or
                                                                                                                                                                                                                                     unsecured; or (ii) a right to an equitable remedy for breach of performance if
                                                                                                                                                                                                                                                                                                                          or (ii) by delivering the original proof of claim form by hand, or mailing the
                                                                                                                                                                                                                                                                                                                          original proof of claim form on or before the applicable Bar Date as follows:
often the most vulnerable,                                                                                                                      TO: ALL PERSONS AND ENTITIES WHO MAY HAVE CLAIMS AGAINST ANY
                                                                                                                                                OF THE FOLLOWING DEBTOR ENTITIES:
                                                                                                                                                                                                                                     such breach gives rise to a right to payment, whether or not such right to an
                                                                                                                                                                                                                                     equitable remedy is reduced to judgment, fixed, contingent, matured, unma-
                                                                                                                                                                                                                                                                                                                          If by overnight courier, hand delivery, or first class mail: Chinos
                                                                                                                                                                                                                                                                                                                          Holdings, Inc. Claims Processing, c/o Omni Agent Solutions, 5955 De Soto
forced from nursing homes                                                                                                                       Name of Debtor, Case Number, Tax Identification Number:
                                                                                                                                                J. Crew Virginia, Inc., 20-32180 (KLP), XX-XXXXXXX; Chinos Holdings, Inc.,
                                                                                                                                                                                                                                     tured, disputed, undisputed, secured, or unsecured. Further, claims include
                                                                                                                                                                                                                                     unsecured claims, secured claims, and priority claims.
                                                                                                                                                                                                                                                                                                                          Ave., Suite 100, Woodland Hills, CA 91367.
                                                                                                                                                                                                                                                                                                                              f. A proof of claim shall be deemed timely filed only if it actually is
                                                                                                                                                20-32181 (KLP), XX-XXXXXXX; Chinos Intermediate Holdings A, Inc., 20-32182               Pursuant to section 101(15) of the Bankruptcy Code and as used in this           received by Omni as set forth in subparagraph (e) above, in each case, on or
                                                                                                                                                (KLP), XX-XXXXXXX; Chinos Intermediate, Inc., 20-32183 (KLP), XX-XXXXXXX;            notice, the term “entity” has the meaning given to it in section 101(15) of the      before the applicable Bar Date; and
BY JESSICA SILVER-GREENBERG                                                                                                                     Chinos Intermediate Holdings B, Inc., 20-32184 (KLP), XX-XXXXXXX; J. Crew            Bankruptcy Code, and includes all persons, estates, trusts, and governmental             g. Proofs of claim sent by facsimile, telecopy, or electronic mail transmis-
                                                                                                                                                Group, Inc., 20-32185 (KLP), XX-XXXXXXX; J. Crew Operating Corp., 20-32186
AND AMY JULIA HARRIS                                                                                                                            (KLP), XX-XXXXXXX; Grace Holmes, Inc., 20-32187 (KLP), XX-XXXXXXX; H.F.D.
                                                                                                                                                                                                                                     units. In addition, the terms “persons” and “governmental units” are defined         sion (other than proofs of claim filed electronically through the Electronic
                                                                                                                                                                                                                                     in sections 101(41) and 101(27) of the Bankruptcy Code, respectively.                Filing System) will not be accepted.
                                                                                                                                                No. 55, Inc., 20-32188 (KLP), XX-XXXXXXX; J. Crew Inc., 20-32189 (KLP),                  2. WHO NEED NOT FILE A PROOF OF CLAIM. The following persons or                      4. CONSEQUENCES OF FAILURE TO TIMELY FILE A PROOF OF CLAIM
                                                                                                                                                XX-XXXXXXX; J. Crew International, Inc., 20-32190 (KLP), XX-XXXXXXX;                 entities whose claims would otherwise be subject to a Bar Date need not file         BY THE APPLICABLE BAR DATE. Pursuant to the Bar Date Order and
On a chilly afternoon in April, the Los                                                                                                         Madewell Inc., 20-32191 (KLP), XX-XXXXXXX; J. Crew Brand Holdings, LLC,              any proofs of claim:                                                                 Bankruptcy Rule 3003(c)(2), any holder of a claim who is required to
                                                                                                                                                20-32192 (KLP), XX-XXXXXXX; J. Crew Brand Intermediate, LLC, 20-32193
Angeles police found an old, disoriented                                                                                                        (KLP), XX-XXXXXXX; J. Crew Brand, LLC, 20-32194 (KLP), XX-XXXXXXX; J. Crew
                                                                                                                                                                                                                                         a. any person or entity whose claim is listed on the Schedules; provided         timely file a Proof of Claim on or before the applicable Bar Date as
                                                                                                                                                                                                                                     that (i) the claim is not listed on the Schedules as “disputed,”“contingent,” or     provided herein, but fails to do so:
man crumpled on a Koreatown side-                                                                                                               Brand Corp., 20-32195 (KLP), XX-XXXXXXX; J. Crew Domestic Brand, LLC,                “unliquidated,” (ii) the person or entity does not dispute the amount, nature,           (a) shall not be treated as a creditor with respect to such claim
walk.                                                                                                                                           20-32196 (KLP), XX-XXXXXXX; J. Crew International Brand, LLC, 20-32197               and priority of the claim as set forth in the Schedules, and (iii) the person or     for the purposes of voting and distribution in these chapter 11 cases
                                                                                                                                                (KLP), XX-XXXXXXX                                                                    entity does not dispute that the claim is an obligation of the specific Debtor       on account of such claim; and
   Several days earlier, RC Kendrick, an                                                                                                        OTHER NAMES USED BY THE DEBTORS IN THE PAST 8 YEARS: J. Crew;                        against which the claim is listed in the Schedules;                                      (b) forever shall be barred, estopped, and enjoined from assert-
88-year-old with dementia, had been liv-                                                                                                        J.Crew Retail; J. Crew Retail Stores; J. Crew Factory; J. Crew Corp.;                    b. any person or entity who already has filed a signed proof of claim            ing such claim against each of the Debtors and their property (or
                                                                                                                                                J. Crew Factory Stores; J. Crew Mercantile; Madewell Retail Stores;
ing at Lakeview Terrace, a nursing                                                                                                              Madewell Retail; J. Crew Outfitters, Inc.
                                                                                                                                                                                                                                     with Omni or the Clerk of the Bankruptcy Court for the Eastern District of           filing a proof of claim with respect thereto), and each of the Debtors
                                                                                                                                                                                                                                     Virginia against the respective Debtors with respect to the claim being              and their respective chapter 11 estates, successors, and property
home with a history of regulatory prob-                                                                                                         Attorneys for Debtors: Ray C. Schrock, P.C., Ryan Preston Dahl, Esq.,                asserted, utilizing a claim form that substantially conforms to the Proof of         shall be forever discharged from any and all indebtedness or liabil-
lems. His family had placed him there to                                                                                                        Candace M. Arthur, Esq., Daniel Gwen, Esq., WEIL, GOTSHAL & MANGES LLP,              Claim Form;                                                                          ity with respect to or arising from such claim.
                                                                                                                                                767 Fifth Avenue, New York, New York 10153-0119, Telephone: (212) 310-                   c. any person or entity who holds a claim that has been allowed by order             5. THE DEBTORS’ SCHEDULES, ACCESS THERETO, AND
make sure he got round-the-clock care                                                                                                           8000, Facsimile: (212) 310-8007; Attorneys for Debtors: Tyler P. Brown               of the Court entered on or before the applicable Bar Date;                           CONSEQUENCES OF AMENDMENT THEREOF. You may be listed as the
after his condition deteriorated and he                                                                                                         (VSB No. 28072), Henry P. (Toby) Long, III (VSB No. 75134), Nathan Kramer                d. any person or entity whose claim has been paid in full in accordance          holder of a claim against the Debtors in the Debtors’ Schedules of Assets and
                                                                                                                                                (VSB No. 87720), HUNTON ANDREWS KURTH LLP, Riverfront Plaza, East Tower,
began disappearing for days at a time.                                                                   ANDREW CULLEN FOR THE NEW YORK TIMES   951 East Byrd Street, Richmond, Virginia 23219, Telephone: (804) 788-8200,
                                                                                                                                                                                                                                     with the Bankruptcy Code or an order of the Court;                                   Liabilities or Schedules of Executory Contracts and Unexpired Leases (col-
                                                                                                                                                                                                                                         e. any person or entity who holds a claim for which a separate deadline          lectively, the “Schedules”). To determine if and how you are listed in the
   But on April 6, the nursing home de-      Lakeview Terrace, a nursing home in Los Angeles, evicted an 88-year-old with dementia              Facsimile: (804) 788-8218                                                            has been fixed by an order of the Court entered on or before the applicable          Schedules, please refer to the descriptions set forth on the enclosed Proof
posited Mr. Kendrick at an unregulated       at a time when employees were being urged to make room for Covid-19 patients.                      Address of the Clerk of the Bankruptcy Court: Clerk of the Bankruptcy Court          Bar Date;                                                                            of Claim Form regarding the nature, amount, and status of your claims. If
                                                                                                                                                for the Eastern District of Virginia (Richmond Division), 701 East Broad Street,         f. any person or entity who holds an equity interest in the Debtors,             you received postpetition payments from the Debtors (as authorized by the
boardinghouse — without bothering to                                                                                                            Suite 4000, Richmond, Virginia 23219-1888, Telephone: 804-916-2400, Hours            which interest exclusively is based upon the ownership of common or                  Court) on account of your claim, the enclosed Proof of Claim Form will reflect
inform his family. Less than 24 hours lat-                                                                                                      Open: 8:00 a.m. – 4:00 p.m. Monday-Friday                                            preferred stock, membership interests, partnership interests, or warrants,           the net amount of your claims. If the Debtors believe that you hold claims
                                                                                                                                                PLEASE TAKE NOTICE THAT:
er, Mr. Kendrick was wandering the city      ing homes is of places where elderly         more profitable to take in sicker patients            YOU ARE RECEIVING THIS NOTICE BECAUSE YOU MAY HAVE A CLAIM
                                                                                                                                                                                                                                     options, or rights to purchase, sell, or subscribe to such a security or interest;   against more than one Debtor, you will receive multiple Proof of Claim Forms,
                                                                                                                                                                                                                                     provided, that if any such holder asserts a claim (as opposed to an ownership        each of which will reflect the nature and amount of your claim against each
alone.                                       people live, much of their business is       for a short period of time. Covid-19 pa-              AGAINST THE DEBTORS IN THE ABOVE-CAPTIONED CHAPTER 11 CASES.                         interest) against the Debtors (including a claim relating to an equity interest      Debtor, as listed in the Schedules.
   According to three Lakeview employ-       caring for patients of all ages and in-      tients can bring in at least $600 more a              THEREFORE, YOU SHOULD READ THIS NOTICE CAREFULLY AND CONSULT                         or the purchase or sale of such equity interest), a Proof of Claim, as applicable,       As set forth above, if you agree with the nature, amount, and status of your
                                                                                                                                                AN ATTORNEY IF YOU HAVE ANY QUESTIONS, INCLUDING WHETHER                             must be filed on or before the applicable Bar Date pursuant to the Procedures        claim as listed in the Schedules and if your claim is not listed in the Schedules
ees, Mr. Kendrick’s ouster came as the       come levels who are recovering from          day in Medicare dollars than people                   YOU SHOULD FILE A PROOF OF CLAIM.                                                    set for the herein;                                                                  as “disputed,” “contingent,” or “unliquidated,” you need not file a proof of
nursing home was telling staff members       surgery or acute illnesses like strokes.     with relatively mild health issues, ac-                   On May 4, 2020 (the “Petition Date”), Chinos Holdings, Inc., and certain             g. any current officer, director, or employee for claims based on indemni-       claim. Otherwise, or if you decide to file a proof of claim, you must do so
                                                                                                                                                of its debtor affiliates, as debtors and debtors in possession, (collectively, the
to try to clear out less-profitable resi-    Medicare often pays for short-term re-       cording to nursing home executives and                “Debtors”), filed voluntary cases under chapter 11 of title 11 of the United
                                                                                                                                                                                                                                     fication, contribution, or reimbursement;                                            before the Bar Date in accordance with the procedures set forth in this Notice.
                                                                                                                                                                                                                                         h. any entity whose claim is solely against any of the Debtors’ non-                 Copies of the Schedules may be examined by interested parties on the
dents to make room for a new class of        habilitation stints; Medicaid covers         state officials.                                      States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court            Debtor affiliates;                                                                   Court’s electronic docket for the Debtors’ chapter 11 cases, which is posted
customers who would generate more            longer-term stays for poor people.              It is not always about the money. Sev-             for the Eastern District of Virginia (the “Bankruptcy Court”).                           i. any Debtor or non-debtor subsidiary or affiliate having a claim               (i) on the website established by Omni for the Debtors’ cases at https://
                                                                                                                                                    On May 28, 2020, the Bankruptcy Court, having jurisdiction over the chap-        against another Debtor;                                                              www.omniagentsolutions.com/chinosclaims and (ii) on the Court’s web-
revenue: patients with Covid-19, the dis-       Nursing homes have long had a finan-      eral states, including New York, New                  ter 11 cases of the Debtors, entered an order (the “Bar Date Order”) estab-              j. any counterparty to a lease of nonresidential real property that              site at https://www.vaeb.uscourts.gov/. A login and password to the
ease caused by the coronavirus.              cial incentive to evict Medicaid patients    Jersey and California, urged nursing                  lishing the following Bar Dates:                                                     asserted a claim for a cure amount in connection with a timely filed objec-          Court’s Public Access to Electronic Court Records (“PACER”) are required to
                                                                                                                                                    a. July 15, 2020 at 5:00 p.m. (Eastern Time) as the deadline for each
   More than any other institution in        in favor of those who pay through pri-       homes to accept Covid-19 patients to                  person or entity (as defined in section 101(27) of the Bankruptcy Code) other
                                                                                                                                                                                                                                     tion to the assumption or assumption and assignment of such lease by the             access the information on the Court’s website and can be obtained through
                                                                                                                                                                                                                                     Debtors;                                                                             the PACER Service Center at www.pacer.psc.uscourts.gov. Copies of the
America, nursing homes have come to          vate insurance or Medicare, which reim-      help relieve pressure on hospitals. Some              than governmental units (as defined in section 101(27) of the Bankruptcy                 k. any holder of a claim allowable under section 503(b) and 507(a)(2) of         Schedules also may be examined between the hours of 8:00 a.m. and 5:00
symbolize the deadly destruction of the      burses nursing homes at a much higher        nursing home employees worried that                   Code) (“Governmental Units”), to file a proof of claim in respect of a prepe-        the Bankruptcy Code, other than a claim asserting priority pursuant to sec-          p.m. (Eastern Time) Monday through Friday at the U.S. Bankruptcy Court,
                                                                                                                                                tition claim (as defined in section 101(5) of the Bankruptcy Code), including        tion 503 of the Bankruptcy Code; and                                                 701 East Broad Street, Suite 4000, Richmond, VA 23219-1888. Copies of the
coronavirus crisis. More than 51,000         rate than Medicaid. More than 10,000         would endanger vulnerable residents.                  secured claims, unsecured priority claims, unsecured non-priority claims, and            l. (i) the prepetition lenders party to that certain Credit Agreement,           Debtors’ Schedules also may be obtained by written request to the Debtors’
residents and employees of nursing           residents and their families complained         There are no national figures on the               claims arising under section 503(b)(9) of the Bankruptcy Code against any of         dated March 7, 2011 (as amended, restated, supplemented, or otherwise                claims agent, Omni, at the address and telephone number set forth below:
                                                                                                                                                the Debtors (the “General Bar Date”), unless otherwise provided herein;
homes and long-term care facilities          to watchdogs about being discharged in       number of nursing home residents who                      b. November 2, 2020 at 5:00 p.m. (Eastern Time) as the deadline for
                                                                                                                                                                                                                                     modified from time to time, the “ABL Credit Agreement,” and such lenders,            Chinos Holdings, Inc. Claims Processing, c/o Omni Agent Solutions, 5955
                                                                                                                                                                                                                                     the “ABL Lenders”) on account of claims arising thereunder; (ii) the prepe-          De Soto Ave., Suite 100, Woodland Hills, CA 91367, Toll Free: (866) 991-8218,
have died, representing more than 40         2018, the most recent year for which fig-    have been moved into shelters for the                 Governmental Units to file a Proof of Claim in respect of a prepetition claim        tition lenders party to that certain Amended and Restated Credit Agreement           International: (818) 924-2298.
percent of the total death toll in the       ures are available.                          homeless, motels and other facilities.                against any of the Debtors (the “Governmental Bar Date”);                            (as amended, restated, supplemented, or otherwise modified from time to                  If the Debtors amend or supplement their Schedules after the date of
                                                                                                                                                    c. the later of (i) the General Bar Date or the Governmental Bar                 time, the “Term Loan Agreement,” and such lenders, the “Term Lenders”)               entry of the Bar Date Order, the Debtors shall give notice of any amend-
United States.                                                                            The New York Times contacted more                     Date, as applicable, and (ii) 5:00 p.m. (Eastern Time) on the date                   on account of claims arising thereunder; and (iii) the prepetition holders of        ment or supplement to the holders of claims affected by such amendment or
   But even as they have been ravaged,                                                    than 80 state-funded nursing-home om-                 that is 30 days from the date on which the Debtors provide notice of                 notes issued pursuant to those certain Indentures, dated July 13, 2017 (as           supplement within 10 days after filing such amendment or supplement, and
                                                                                                                                                an amendment or supplement to the Schedules (as defined herein)
nursing homes have also been enlisted                                                     budsmen in 46 states for a tally of invol-                                                                                                 amended, restated, supplemented, waived or otherwise modified from time              such holders must file a Proof of Claim by the later of (a) the General Bar
in the response to the outbreak. They        “Some homes were basically                   untary discharges during the pandemic
                                                                                                                                                as the deadline by which claimants holding claims affected by such filing,
                                                                                                                                                amendment, or supplement must file proofs of claim with respect to such
                                                                                                                                                                                                                                     to time, the “IPCo Indentures,” and such holders, the “IPCo Noteholders”)            Date or the Governmental Bar Date, as applicable, and (b) 5:00 p.m.
                                                                                                                                                                                                                                     on account of claims arising thereunder; provided that the administra-               (Eastern Time) on the date that is 30 days from the date on which
are taking on coronavirus-stricken pa-       seizing the moment when                      at facilities they monitor. Twenty-six                claim (the “Amended Schedules Bar Date”); and
                                                                                                                                                    d. the later of (i) the General Bar Date or the Governmental Bar
                                                                                                                                                                                                                                     tive agent under the ABL Credit Agreement and the Term Loan Agreement,               the Debtors provide notice of an amendment or supplement to the
tients to ease the burden on over-                                                        ombudsmen, from 18 states, provided                                                                                                                                                                                             Schedules, or be forever barred from so doing, and such deadline shall be
                                             everyone is looking the other                                                                      Date, as applicable, and (ii) 5:00 p.m. (Eastern Time) on the date
                                                                                                                                                                                                                                     respectively, and trustees under the IPCo Indentures may file a single con-
                                                                                                                                                                                                                                     solidated Proof of Claim on behalf of the ABL Lenders, Term Lenders, and IPCo        contained in any notice of such amendment or supplement of the Schedules
whelmed hospitals — and, at times, to                                                     figures to The Times: a total of more                 that is 30 days from the date of entry of an order approving rejec-
bolster their bottom lines.
                                             way to move people out.”                     than 6,400 discharges, many to shelters.              tion of any executory contract or unexpired lease of the Debtors
                                                                                                                                                                                                                                     Noteholders, as applicable.
                                                                                                                                                                                                                                         The fact that you have received this notice does not mean that
                                                                                                                                                                                                                                                                                                                          provided to the holders of claims affected thereby.
                                                                                                                                                                                                                                                                                                                              6. RESERVATION OF RIGHTS. Nothing contained in this Notice is
                                                                                                                                                (the “Rejection Order”) as the deadline by which claimants asserting                 you have claim or that the Debtors or the Court believe that you                     intended to or should be construed as a waiver of the Debtors’ right to: (a)
   A Lakeview official said the compa-                                                       Traditionally, ombudsmen would reg-                claims resulting from the Debtors’ rejection of an executory contract or unex-       have a claim against the Debtors. You should not file a proof of                     dispute, or assert offsets or defenses against, any filed claim or any claim
ny’s evictions were appropriate and                                                       ularly go to nursing homes. In March,                 pired lease must file proofs of claim for damages arising from such rejection1       claim if you do not have a claim against any of the Debtors.                         listed or reflected in the Schedules as to the nature, amount, liability, or clas-
                                                                                                                                                (the “Rejection Damages Bar Date,” and, together with the General Bar
weren’t an attempt to free space for            The pandemic has intensified the situ-    though, ombudsmen — and residents’                    Date, the Governmental Bar Date, and the Amended Schedules Bar Date, the
                                                                                                                                                                                                                                         3. INSTRUCTIONS FOR FILING PROOFS OF CLAIM. Except as other-                     sification thereof; (b) subsequently designate any scheduled claim as dis-
                                                                                                                                                                                                                                     wise set forth herein, each entity that asserts a claim against the Debtors          puted, contingent, or unliquidated; and (c) otherwise amend or supplement
Covid-19 patients. But similar scenes        ation. With nursing homes not allowing       families — were required to stop vis-                 “Bar Dates”).
                                                                                                                                                                                                                                     that arose before the Petition Date MUST file a proof of claim.                      the Schedules.
                                                                                                                                                    If you have any questions relating to this notice, please feel
are playing out at nursing homes nation-     visitors, they receive less outside scru-    iting. Evictions followed.                            free to contact Omni Agent Solutions (“Omni”) at (866) 991-
                                                                                                                                                                                                                                         The following procedures with respect to preparing and filing of                 If you require additional information regarding the filing of a proof
                                                                                                                                                                                                                                     proofs of claim will apply; provided, however, the Debtors in their                  of claim, you may contact the Debtors’ Claims and Noticing Agent
wide. They are kicking out old and dis-      tiny. Fifteen state-funded ombudsmen            “It felt opportunistic, where some                 8218 (toll free) or (818) 924-2298 (international) or by e-mail at
                                                                                                                                                                                                                                     discretion may waive any defects in a proof of claim:                                directly at: Omni, 5955 De Soto Ave., Suite 100, Woodland Hills,
abled residents — among the people           said in interviews that some homes ap-       homes were basically seizing the mo-                  chinosinquiries@omniagnt.com.                                                                                                                                             CA 91367; telephone: (866) 991-8218 (toll-free) or (818) 924-2298
                                                                                                                                                                                                                                         a. Proofs of claim must substantially conform to the attached Proof of
                                                                                                                                                NOTE: The staff of the Bankruptcy Clerk’s Office, the Office of the United                                                                                                (international); or by e-mail at chinosinquiries@omniagnt.com.
most susceptible to the coronavirus —        peared to be taking advantage of that        ment when everyone is looking the                     States Trustee, and the Debtors’ Claims and Noticing Agent cannot give legal
                                                                                                                                                                                                                                     Claim Form or Official Bankruptcy Form No. 410;
                                                                                                                                                                                                                                         b. Proofs of claim must (i) be written in the English language; (ii) be          A holder of a possible claim against the Debtors should consult an
and shunting them into shelters for the      void to evict vulnerable residents.          other way to move people out,” said Lau-              advice.
                                                                                                                                                                                                                                     denominated in lawful currency of the United States as of the Petition Date          attorney if such holder has any questions regarding this notice,
                                                                                                                                                INSTRUCTIONS:
homeless, rundown motels and other              Many nursing homes are struggling         rie Facciarossa Brewer, a long-term                       1. WHO MUST FILE A PROOF OF CLAIM. Except as otherwise set forth
                                                                                                                                                                                                                                     (using the exchange rate, if applicable, as of the Petition Date); (iii) specify     including whether the holder should file a proof of claim.
unsafe facilities, according to 22 watch-    in part because one of their most prof-      care ombudsman in New Jersey.                                                                                                              by name and case number the Debtor against which the claim is filed;                 Dated: Richmond, Virginia, June 15, 2020, BY ORDER OF THE COURT,
                                                                                                                                                herein, the following persons or entities holding claims against the Debtors
                                                                                                                                                                                                                                     (iv) set forth with specificity the legal and factual basis for the alleged claim;   WEIL, GOTSHAL & MANGES LLP, Ray C. Schrock, P.C., Ryan Preston Dahl, Esq.,
dogs in 16 states, as well as dozens of      itable businesses — postsurgery rehab           Nursing homes are allowed to evict                 arising before the Petition Date MUST file proofs of claim on or before the
                                                                                                                                                                                                                                     (v) include supporting documentation for the claim or an explanation as to           Candace M. Arthur, Esq., Daniel Gwen, Esq., 767 Fifth Avenue, New York, New
                                                                                                                                                applicable Bar Date:
elder-care lawyers, social workers and       — has withered as states have barred         residents if they aren’t able to pay for                  a. any person or entity whose claim against a Debtor is not listed in the
                                                                                                                                                                                                                                     why such documentation is not available; and (vi) be signed by the claimant          York 10153, Telephone: (212) 310-8000, Facsimile: (212) 310-8007 -and-
                                                                                                                                                                                                                                     or, if the claimant is not an individual, by an authorized agent of the claimant     HUNTON ANDREWS KURTH LLP, Tyler P. Brown (VSB No. 28072), Henry P. (Toby)
former nursing home executives.              hospitals from performing nonessential       their care, are endangering others in the             applicable Debtor’s Schedules, or is listed as “contingent,” “unliquidated,” or
                                                                                                                                                                                                                                     under penalty of perjury;                                                            Long, III (VSB No. 75134), Nathan Kramer (VSB No. 87720), Riverfront Plaza,
                                                                                                                                                “disputed” and if such entity desires to participate in any of these chapter 11
   Many of the evictions, known as invol-    services.                                    facility or have sufficiently recovered.              cases or share in any distribution in any of these chapter 11 cases;
                                                                                                                                                                                                                                         c. Except as otherwise set forth herein, if a claimant asserts a claim           East Tower, 951 East Byrd Street, Richmond, VA 23219, Tel: (804) 788-8200,
untary discharges, appear to violate fed-       Treating Covid-19 patients quickly be-    Under federal law, before discharging                                                                                                      against more than one Debtor or has claims against different Debtors, the            Fax: (804) 788-8218, ATTORNEYS FOR DEBTORS AND DEBTORS IN POSSESSION
                                                                                                                                                    b. any person or entity who believes that its claim is improperly classi-
                                                                                                                                                                                                                                     claimant must file a separate proof of claim, as applicable, against each            1
eral rules that require nursing homes to     came a popular way to fill that financial    patients against their will, nursing                  fied in the Schedules or is listed in an incorrect amount and who desires to                                                                                                  Provided that notwithstanding the foregoing, a party to an executory con-
                                                                                                                                                                                                                                     Debtor;
                                                                                                                                                have its claim allowed in a different classification or amount other than that                                                                                            tract or unexpired lease who asserts a claim on account of unpaid amounts
place residents in safe locations and to     void.                                        homes are required to give formal notice              identified in the Schedules;
                                                                                                                                                                                                                                         d. Except as otherwise provided herein, each proof of claim must include
                                                                                                                                                                                                                                                                                                                          accrued and outstanding as of the Petition Date pursuant to such executory
                                                                                                                                                                                                                                     supporting documentation or an explanation as to why such documentation
provide them with at least 30 days’ no-         Last fall, the Centers for Medicare       to the resident and to the ombudsman’s                    c. any person or entity who believes that any prepetition claim as listed
                                                                                                                                                                                                                                     is not available in accordance with Bankruptcy Rules 3001(c) and 3001(d). If
                                                                                                                                                                                                                                                                                                                          contract or unexpired lease (other than a rejection damages claim) must file
                                                                                                                                                in the Schedules is not an obligation of the specific Debtor against which the                                                                                            a proof of claim for such amounts on or before the applicable Bar Date, unless
tice before forcing them to leave.           and Medicaid changed the formula for         office. They must also find a safe alter-             claim is listed and who desires to have its claim allowed against a Debtor
                                                                                                                                                                                                                                     such documentation is voluminous, such proof of claim may include a sum-
                                                                                                                                                                                                                                                                                                                          an exception identified in the Bar Date Order applies.
   While the popular conception of nurs-     reimbursing nursing homes, making it         EVICTIONS, PAGE 8                                                                                                                          mary of such documentation, subject to receiving prior written consent from
Case 20-32181-KLP   Doc 530    Filed 06/23/20 Entered 06/23/20 16:26:35   Desc Main
                              Document     Page 8 of 15



                                   EXHIBIT C
        Case 20-32181-KLP                Doc 530    Filed 06/23/20 Entered 06/23/20 16:26:35          Desc Main
                                                   Document     Page 9 of 15


          WEIL, GOTSHAL & MANGES LLP                                HUNTON ANDREWS KURTH LLP
          Ray C. Schrock, P.C. (admitted pro hac vice)              Tyler P. Brown (VSB No. 28072)
          Ryan Preston Dahl (admitted pro hac vice)                 Henry P. (Toby) Long, III (VSB No. 75134)
          Candace M. Arthur (admitted pro hac vice)                 Nathan Kramer (VSB No. 87720)
          Daniel Gwen (admitted pro hac vice)                       Riverfront Plaza, East Tower
          767 Fifth Avenue                                          951 East Byrd Street
          New York, New York 10153                                  Richmond, Virginia 23219
          Telephone: (212) 310-8000                                 Telephone: (804) 788-8200
          Facsimile: (212) 310-8007                                 Facsimile: (804) 788-8218

          Attorneys for Debtors and Debtors in Possession


                                         UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF VIRGINIA, RICHMOND DIVISION

In re
                                                              Chapter 11 Case Nos.: 20-32180 (KLP) Through 20-32197
CHINOS HOLDINGS, INC., et al.,                                (KLP)
                                                              (Jointly Administered)
                              Debtors.

                               NOTICE OF DEADLINES TO FILE PROOFS OF CLAIM
TO: ALL PERSONS AND ENTITIES WHO MAY HAVE CLAIMS AGAINST ANY OF THE FOLLOWING DEBTOR
ENTITIES:
                  Name of Debtor                                 Case Number                   Tax Identification Number
J. Crew Virginia, Inc.                                          20‐32180 (KLP)                        XX-XXXXXXX
Chinos Holdings, Inc.                                           20‐32181 (KLP)                        XX-XXXXXXX
Chinos Intermediate Holdings A, Inc.                            20‐32182 (KLP)                        XX-XXXXXXX
Chinos Intermediate, Inc.                                       20‐32183 (KLP)                        XX-XXXXXXX
Chinos Intermediate Holdings B, Inc.                            20‐32184 (KLP)                        XX-XXXXXXX
J. Crew Group, Inc.                                             20-32185 (KLP)                        XX-XXXXXXX
J. Crew Operating Corp.                                         20-32186 (KLP)                        XX-XXXXXXX
Grace Holmes, Inc.                                              20‐32187 (KLP)                        XX-XXXXXXX
H.F.D. No. 55, Inc.                                             20‐32188 (KLP)                        XX-XXXXXXX
J. Crew Inc.                                                    20‐32189 (KLP)                        XX-XXXXXXX
J. Crew International, Inc.                                     20-32190 (KLP)                        XX-XXXXXXX
Madewell Inc.                                                   20‐32191 (KLP)                        XX-XXXXXXX
J. Crew Brand Holdings, LLC                                     20‐32192 (KLP)                        XX-XXXXXXX
J. Crew Brand Intermediate, LLC                                 20-32193 (KLP)                        XX-XXXXXXX
J. Crew Brand, LLC                                              20‐32194 (KLP)                        XX-XXXXXXX
J. Crew Brand Corp.                                             20-32195 (KLP)                        XX-XXXXXXX




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      Case 20-32181-KLP               Doc 530 Filed 06/23/20 Entered 06/23/20 16:26:35                             Desc Main
                                             Document    Page 10 of 15



J. Crew Domestic Brand, LLC                                            20-32196 (KLP)                              XX-XXXXXXX
J. Crew International Brand, LLC                                       20-32197 (KLP)                              XX-XXXXXXX
OTHER NAMES USED BY THE DEBTORS IN THE PAST 8 YEARS:
J. Crew                                     J. Crew Factory Stores
J.Crew Retail                               J. Crew Mercantile
J. Crew Retail Stores                       Madewell Retail Stores
J. Crew Factory                             Madewell Retail
J. Crew Corp.                               J. Crew Outfitters, Inc.
Attorneys for Debtors                       Attorneys for Debtors
Ray C. Schrock, P.C.                        Tyler P. Brown (VSB No. 28072)
Ryan Preston Dahl, Esq.                     Henry P. (Toby) Long, III (VSB No. 75134)
Candace M. Arthur, Esq.                     Nathan Kramer (VSB No. 87720)
Daniel Gwen, Esq.
                                                                   HUNTON ANDREWS KURTH LLP
WEIL, GOTSHAL & MANGES LLP                                         Riverfront Plaza, East Tower
767 Fifth Avenue                                                   951 East Byrd Street
New York, New York 10153-0119                                      Richmond, Virginia 23219
Telephone: (212) 310-8000                                          Telephone: (804) 788-8200
Facsimile: (212) 310-8007                                          Facsimile: (804) 788-8218

                                                 Address of the Clerk of the Bankruptcy Court
                             Clerk of the Bankruptcy Court for the Eastern District of Virginia (Richmond Division)
                                       701 East Broad Street, Suite 4000, Richmond, Virginia 23219-1888
                                                           Telephone: 804-916-2400
                                          Hours Open: 8:00 a.m. – 4:00 p.m. Monday-Friday


        PLEASE TAKE NOTICE THAT:

         YOU ARE RECEIVING THIS NOTICE BECAUSE YOU MAY HAVE A CLAIM AGAINST THE
         DEBTORS IN THE ABOVE-CAPTIONED CHAPTER 11 CASES. THEREFORE, YOU SHOULD READ
         THIS NOTICE CAREFULLY AND CONSULT AN ATTORNEY IF YOU HAVE ANY QUESTIONS,
         INCLUDING WHETHER YOU SHOULD FILE A PROOF OF CLAIM.

                          On May 4, 2020 (the “Petition Date”), Chinos Holdings, Inc., and certain of its debtor affiliates, as
        debtors and debtors in possession, (collectively, the “Debtors”), filed voluntary cases under chapter 11 of title 11 of
        the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern District of
        Virginia (the “Bankruptcy Court”).

                          On May 28, 2020, the Bankruptcy Court, having jurisdiction over the chapter 11 cases of the
        Debtors, entered an order (the “Bar Date Order”) establishing the following Bar Dates:

                  a.        July 15, 2020 at 5:00 p.m. (Eastern Time) as the deadline for each person or entity (as defined in
                            section 101(27) of the Bankruptcy Code) other than governmental units (as defined in section
                            101(27) of the Bankruptcy Code) (“Governmental Units”), to file a proof of claim in respect of a
                            prepetition claim (as defined in section 101(5) of the Bankruptcy Code), including secured claims,
                            unsecured priority claims, unsecured non-priority claims, and claims arising under section 503(b)(9)
                            of the Bankruptcy Code against any of the Debtors (the “General Bar Date”), unless otherwise
                            provided herein;

                  b.        November 2, 2020 at 5:00 p.m. (Eastern Time) as the deadline for Governmental Units to file a
                            Proof of Claim in respect of a prepetition claim against any of the Debtors (the “Governmental Bar
                            Date”);




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Case 20-32181-KLP               Doc 530 Filed 06/23/20 Entered 06/23/20 16:26:35                               Desc Main
                                       Document    Page 11 of 15


           c.        the later of (i) the General Bar Date or the Governmental Bar Date, as applicable, and (ii) 5:00
                     p.m. (Eastern Time) on the date that is 30 days from the date on which the Debtors provide
                     notice of an amendment or supplement to the Schedules (as defined herein) as the deadline by
                     which claimants holding claims affected by such filing, amendment, or supplement must file proofs
                     of claim with respect to such claim (the “Amended Schedules Bar Date”); and

           d.        the later of (i) the General Bar Date or the Governmental Bar Date, as applicable, and (ii) 5:00
                     p.m. (Eastern Time) on the date that is 30 days from the date of entry of an order approving
                     rejection of any executory contract or unexpired lease of the Debtors (the “Rejection Order”)
                     as the deadline by which claimants asserting claims resulting from the Debtors’ rejection of an
                     executory contract or unexpired lease must file proofs of claim for damages arising from such
                     rejection1 (the “Rejection Damages Bar Date,” and, together with the General Bar Date, the
                     Governmental Bar Date, and the Amended Schedules Bar Date, the “Bar Dates”).

                 If you have any questions relating to this notice, please feel free to contact Omni Agent
 Solutions (“Omni”) at (866) 991-8218 (toll free) or (818) 924-2298 (international) or by e-mail at
 chinosinquiries@omniagnt.com.

 NOTE: The staff of the Bankruptcy Clerk’s Office, the Office of the United States Trustee, and the Debtors’ Claims
 and Noticing Agent cannot give legal advice.

 INSTRUCTIONS:

 1.        WHO MUST FILE A PROOF OF CLAIM

          Except as otherwise set forth herein, the following persons or entities holding claims against the Debtors
 arising before the Petition Date MUST file proofs of claim on or before the applicable Bar Date:

           a.         any person or entity whose claim against a Debtor is not listed in the applicable Debtor’s Schedules,
                      or is listed as “contingent,” “unliquidated,” or “disputed” and if such entity desires to participate
                      in any of these chapter 11 cases or share in any distribution in any of these chapter 11 cases;

           b.         any person or entity who believes that its claim is improperly classified in the Schedules or is listed
                      in an incorrect amount and who desires to have its claim allowed in a different classification or
                      amount other than that identified in the Schedules;

           c.         any person or entity who believes that any prepetition claim as listed in the Schedules is not an
                      obligation of the specific Debtor against which the claim is listed and who desires to have its claim
                      allowed against a Debtor other than identified in the Schedules; and

           d.         any entity who believes that its claim against a Debtor is or may be entitled to priority under section
                      503(b)(9) of the Bankruptcy Code.

          Pursuant to section 101(5) of the Bankruptcy Code and as used in this Notice, the word “claim” means (i) a
 right to payment, whether or not such right is reduced to judgment, liquidated, unliquidated, fixed, contingent,
 matured, unmatured, disputed, undisputed, legal, equitable, secured, or unsecured; or (ii) a right to an equitable remedy
 for breach of performance if such breach gives rise to a right to payment, whether or not such right to an equitable



 1
      Provided that notwithstanding the foregoing, a party to an executory contract or unexpired lease who asserts a
      claim on account of unpaid amounts accrued and outstanding as of the Petition Date pursuant to such executory
      contract or unexpired lease (other than a rejection damages claim) must file a proof of claim for such amounts on
      or before the applicable Bar Date, unless an exception identified in the Bar Date Order applies.




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Case 20-32181-KLP               Doc 530 Filed 06/23/20 Entered 06/23/20 16:26:35                                Desc Main
                                       Document    Page 12 of 15


 remedy is reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or unsecured.
 Further, claims include unsecured claims, secured claims, and priority claims.

         Pursuant to section 101(15) of the Bankruptcy Code and as used in this notice, the term “entity” has the
 meaning given to it in section 101(15) of the Bankruptcy Code, and includes all persons, estates, trusts, and
 governmental units. In addition, the terms “persons” and “governmental units” are defined in sections 101(41) and
 101(27) of the Bankruptcy Code, respectively.

 2.        WHO NEED NOT FILE A PROOF OF CLAIM

           The following persons or entities whose claims would otherwise be subject to a Bar Date need not file any
 proofs of claim:

           a.        any person or entity whose claim is listed on the Schedules; provided that (i) the claim is not listed
                     on the Schedules as “disputed,” “contingent,” or “unliquidated,” (ii) the person or entity does not
                     dispute the amount, nature, and priority of the claim as set forth in the Schedules, and (iii) the person
                     or entity does not dispute that the claim is an obligation of the specific Debtor against which the
                     claim is listed in the Schedules;

           b.        any person or entity who already has filed a signed proof of claim with Omni or the Clerk of the
                     Bankruptcy Court for the Eastern District of Virginia against the respective Debtors with respect to
                     the claim being asserted, utilizing a claim form that substantially conforms to the Proof of Claim
                     Form;

           c.        any person or entity who holds a claim that has been allowed by order of the Court entered on or
                     before the applicable Bar Date;

           d.        any person or entity whose claim has been paid in full in accordance with the Bankruptcy Code or
                     an order of the Court;

           e.        any person or entity who holds a claim for which a separate deadline has been fixed by an order of
                     the Court entered on or before the applicable Bar Date;

           f.        any person or entity who holds an equity interest in the Debtors, which interest exclusively is based
                     upon the ownership of common or preferred stock, membership interests, partnership interests, or
                     warrants, options, or rights to purchase, sell, or subscribe to such a security or interest; provided,
                     that if any such holder asserts a claim (as opposed to an ownership interest) against the Debtors
                     (including a claim relating to an equity interest or the purchase or sale of such equity interest), a
                     Proof of Claim, as applicable, must be filed on or before the applicable Bar Date pursuant to the
                     Procedures set for the herein;

           g.        any current officer, director, or employee for claims based on indemnification, contribution, or
                     reimbursement;

           h.        any entity whose claim is solely against any of the Debtors’ non-Debtor affiliates;

           i.        any Debtor or non-debtor subsidiary or affiliate having a claim against another Debtor;

           j.        any counterparty to a lease of nonresidential real property that asserted a claim for a cure amount in
                     connection with a timely filed objection to the assumption or assumption and assignment of such
                     lease by the Debtors;

           k.        any holder of a claim allowable under section 503(b) and 507(a)(2) of the Bankruptcy Code, other
                     than a claim asserting priority pursuant to section 503 of the Bankruptcy Code; and




 WEIL:\97512206\2\54457.0007
Case 20-32181-KLP               Doc 530 Filed 06/23/20 Entered 06/23/20 16:26:35                               Desc Main
                                       Document    Page 13 of 15


           l.        (i) the prepetition lenders party to that certain Credit Agreement, dated March 7, 2011 (as amended,
                     restated, supplemented, or otherwise modified from time to time, the “ABL Credit Agreement,”
                     and such lenders, the “ABL Lenders”) on account of claims arising thereunder; (ii) the prepetition
                     lenders party to that certain Amended and Restated Credit Agreement (as amended, restated,
                     supplemented, or otherwise modified from time to time, the “Term Loan Agreement,” and such
                     lenders, the “Term Lenders”) on account of claims arising thereunder; and (iii) the prepetition
                     holders of notes issued pursuant to those certain Indentures, dated July 13, 2017 (as amended,
                     restated, supplemented, waived or otherwise modified from time to time, the “IPCo Indentures,”
                     and such holders, the “IPCo Noteholders”) on account of claims arising thereunder; provided that
                     the administrative agent under the ABL Credit Agreement and the Term Loan Agreement,
                     respectively, and trustees under the IPCo Indentures may file a single consolidated Proof of Claim
                     on behalf of the ABL Lenders, Term Lenders, and IPCo Noteholders, as applicable.

          The fact that you have received this notice does not mean that you have claim or that the Debtors or
 the Court believe that you have a claim against the Debtors. You should not file a proof of claim if you do not
 have a claim against any of the Debtors.

 3.        INSTRUCTIONS FOR FILING PROOFS OF CLAIM

          Except as otherwise set forth herein, each entity that asserts a claim against the Debtors that arose before the
 Petition Date MUST file a proof of claim.

                 The following procedures with respect to preparing and filing of proofs of claim will apply;
 provided, however, the Debtors in their discretion may waive any defects in a proof of claim:

           a.        Proofs of claim must substantially conform to the attached Proof of Claim Form or Official
                     Bankruptcy Form No. 410;

           b.        Proofs of claim must (i) be written in the English language; (ii) be denominated in lawful currency
                     of the United States as of the Petition Date (using the exchange rate, if applicable, as of the Petition
                     Date); (iii) specify by name and case number the Debtor against which the claim is filed; (iv) set
                     forth with specificity the legal and factual basis for the alleged claim; (v) include supporting
                     documentation for the claim or an explanation as to why such documentation is not available; and
                     (vi) be signed by the claimant or, if the claimant is not an individual, by an authorized agent of the
                     claimant under penalty of perjury;

           c.        Except as otherwise set forth herein, if a claimant asserts a claim against more than one Debtor or
                     has claims against different Debtors, the claimant must file a separate proof of claim, as applicable,
                     against each Debtor;

           d.        Except as otherwise provided herein, each proof of claim must include supporting documentation
                     or an explanation as to why such documentation is not available in accordance with Bankruptcy
                     Rules 3001(c) and 3001(d). If such documentation is voluminous, such proof of claim may include
                     a summary of such documentation, subject to receiving prior written consent from the Debtors’
                     counsel and submitting the documentation in connection with such request;

           e.        Proofs of claim must be filed (i) electronically through the website of the Debtors’ claims and
                     noticing agent, Omni, using the interface available on such website located at
                     https://www.omniagentsolutions.com/chinosclaims under the link entitled “Submit a Claim” (the
                     “Electronic Filing System”) or (ii) by delivering the original proof of claim form by hand, or
                     mailing the original proof of claim form on or before the applicable Bar Date as follows:




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Case 20-32181-KLP               Doc 530 Filed 06/23/20 Entered 06/23/20 16:26:35                             Desc Main
                                       Document    Page 14 of 15


                     If by overnight courier, hand delivery, or first class mail:

                     Chinos Holdings, Inc. Claims Processing
                     c/o Omni Agent Solutions
                     5955 De Soto Ave., Suite 100
                     Woodland Hills, CA 91367

           f.        A proof of claim shall be deemed timely filed only if it actually is received by Omni as set forth in
                     subparagraph (e) above, in each case, on or before the applicable Bar Date; and

           g.        Proofs of claim sent by facsimile, telecopy, or electronic mail transmission (other than proofs of
                     claim filed electronically through the Electronic Filing System) will not be accepted.

 4.        CONSEQUENCES OF FAILURE TO TIMELY FILE A PROOF OF CLAIM BY THE
           APPLICABLE BAR DATE

                 Pursuant to the Bar Date Order and Bankruptcy Rule 3003(c)(2), any holder of a claim who is
 required to timely file a Proof of Claim on or before the applicable Bar Date as provided herein, but fails to do
 so:

                   (a) shall not be treated as a creditor with respect to such claim for the purposes of voting and
 distribution in these chapter 11 cases on account of such claim; and

                  (b) forever shall be barred, estopped, and enjoined from asserting such claim against each of
 the Debtors and their property (or filing a proof of claim with respect thereto), and each of the Debtors and
 their respective chapter 11 estates, successors, and property shall be forever discharged from any and all
 indebtedness or liability with respect to or arising from such claim.

 5.        THE DEBTORS’ SCHEDULES, ACCESS THERETO, AND CONSEQUENCES OF AMENDMENT
           THEREOF

                    You may be listed as the holder of a claim against the Debtors in the Debtors’ Schedules of Assets
 and Liabilities or Schedules of Executory Contracts and Unexpired Leases (collectively, the “Schedules”). To
 determine if and how you are listed in the Schedules, please refer to the descriptions set forth on the enclosed Proof
 of Claim Form regarding the nature, amount, and status of your claims. If you received postpetition payments from
 the Debtors (as authorized by the Court) on account of your claim, the enclosed Proof of Claim Form will reflect the
 net amount of your claims. If the Debtors believe that you hold claims against more than one Debtor, you will receive
 multiple Proof of Claim Forms, each of which will reflect the nature and amount of your claim against each Debtor,
 as listed in the Schedules.

                    As set forth above, if you agree with the nature, amount, and status of your claim as listed in the
 Schedules and if your claim is not listed in the Schedules as “disputed,” “contingent,” or “unliquidated,” you need not
 file a proof of claim. Otherwise, or if you decide to file a proof of claim, you must do so before the Bar Date in
 accordance with the procedures set forth in this Notice.

                  Copies of the Schedules may be examined by interested parties on the Court’s electronic docket for
 the Debtors’ chapter 11 cases, which is posted (i) on the website established by Omni for the Debtors’ cases at
 https://www.omniagentsolutions.com/chinosclaims and (ii) on the Court’s website at https://www.vaeb.uscourts.gov/.
 A login and password to the Court’s Public Access to Electronic Court Records (“PACER”) are required to access
 the information on the Court’s website and can be obtained through the PACER Service Center at
 www.pacer.psc.uscourts.gov. Copies of the Schedules also may be examined between the hours of 8:00 a.m. and 5:00
 p.m. (Eastern Time) Monday through Friday at the U.S. Bankruptcy Court, 701 East Broad Street, Suite 4000,
 Richmond, VA 23219-1888. Copies of the Debtors’ Schedules also may be obtained by written request to the Debtors’
 claims agent, Omni, at the address and telephone number set forth below:




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Case 20-32181-KLP              Doc 530 Filed 06/23/20 Entered 06/23/20 16:26:35                             Desc Main
                                      Document    Page 15 of 15


                                      Chinos Holdings, Inc. Claims Processing
                                             c/o Omni Agent Solutions
                                           5955 De Soto Ave., Suite 100
                                             Woodland Hills, CA 91367
                                             Toll Free: (866) 991-8218
                                           International: (818) 924-2298

                    If the Debtors amend or supplement their Schedules after the date of entry of the Bar Date Order,
 the Debtors shall give notice of any amendment or supplement to the holders of claims affected by such amendment
 or supplement within 10 days after filing such amendment or supplement, and such holders must file a Proof of Claim
 by the later of (a) the General Bar Date or the Governmental Bar Date, as applicable, and (b) 5:00 p.m. (Eastern
 Time) on the date that is 30 days from the date on which the Debtors provide notice of an amendment or
 supplement to the Schedules, or be forever barred from so doing, and such deadline shall be contained in any notice
 of such amendment or supplement of the Schedules provided to the holders of claims affected thereby.

 6.        RESERVATION OF RIGHTS

                    Nothing contained in this Notice is intended to or should be construed as a waiver of the Debtors’
 right to: (a) dispute, or assert offsets or defenses against, any filed claim or any claim listed or reflected in the
 Schedules as to the nature, amount, liability, or classification thereof; (b) subsequently designate any scheduled claim
 as disputed, contingent, or unliquidated; and (c) otherwise amend or supplement the Schedules.

  If you require additional information regarding the filing of a proof of claim, you may contact the Debtors’
  Claims and Noticing Agent directly at: Omni, 5955 De Soto Ave., Suite 100, Woodland Hills, CA 91367;
  telephone: (866) 991-8218 (toll-free) or (818) 924-2298 (international); or by e-mail at
  chinosinquiries@omniagnt.com.


  A holder of a possible claim against the Debtors should consult an attorney if such holder has any questions
  regarding this notice, including whether the holder should file a proof of claim.

 Dated:         Richmond, Virginia                               BY ORDER OF THE COURT
                June 15, 2020

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